Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 1 of 9
                    Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 2 of 9



 1                                                          II.           JURISDICTION

 2             1.        This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the Eighth and
 3   Fourteenth Amendments to the United States Constitution. Jurisdiction is founded upon 28 U.S.C. §
 4   1331 and 1343(3) and (4) the aforementioned statutory and constitutional provisions.
 5             2.        Under 28 U.S.C. § 1367(a) the Court has supplemental jurisdiction over the state claims
 6   alleged herein.
 7             3.        The amount in controversy exceeds $10,000, excluding interest and costs.
 8
                                                                   III.     PARTIES
 9
               4.        Plaintiff JANE DOE (age 17) is, and at all material times herein, was a citizen of the
10
     United States and resident of the State of California, when she was subjected to the acts alleged in this
11
     complaint.
12
               5.        Defendant HUMBOLDT COUNTY is a county government agency that includes the
13
     Humboldt County Probation Department, which is responsible for the care, custody, and control of
14
     juveniles who are wards of the court pursuant to California Welfare and Institutions Code § 730.
15
               6.        Defendants ROES 1 THROUGH 30 are, upon information and belief, agents, officers and
16
     employees of Defendant HUMBOLDT COUNTY, who were responsible, in one way or another, for the
17
     denial of constitutional and statutory rights, damages, and injuries suffered by Plaintiff while in the care,
18
     custody, and control of Defendants at the Humboldt County Juvenile Hall.
19
               7.        The real names of ROES 1 THROUGH 30 are not now known to Plaintiff who sue such
20
     Defendants by their fictitious names. Plaintiff will substitute the real names of said Defendants when the
21
     same are ascertained.
22
                                                                    IV.      FACTS
23
               8.        On or about November 12, 2008, Plaintiff JANE DOE, was a ward and in the custody of
24
     Defendants at the Humboldt County Juvenile Hall in Eureka, when she was subjected to excessive force
25
     which included being “slammed” or thrown face first against an office window and down to the ground
26
     by Defendants ROES 1 through 10, who were on duty as probation officer employees of Defendant
27
     HUMBOLDT COUNTY. The force used was not only excessive, but was punitive and corporal
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                                                                             2
     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
     Jane Doe vs. County of Humboldt, et al.; USDC, ND, Case No.
                    Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 3 of 9



 1   punishment in violation of state and federal law. The identities of the employees involved in the incident

 2   are not now known and Plaintiff prays for leave to amend this Complaint to substitute said names when
 3   the same are ascertained.

 4             9.        On or about November 14, 2008, while Plaintiff was still a ward and in the custody, care,

 5   and control of Defendants at the Humboldt County Juvenile Hall, she was again subjected to excessive

 6   force as follows: she was sprayed with “OC” or pepper spray, “slammed” down to the ground, and then
 7   thrown into a cold shower by Defendants ROES 11 through 20 who were on duty as probation officer

 8   employees of Defendant HUMBOLDT COUNTY. Plaintiff did not receive any medical attention after

 9   being pepper sprayed. The force used was excessive, punitive, and corporal punishment in violation of
10   state and federal law. The identities of all of the employees involved in the incident are not now known
11   and Plaintiff prays for leave to amend this Complaint to substitute said names when the same are

12   ascertained.
13             10.       On or about November 15, 2008, Defendants were deliberately indifferent when

14   Defendants ROES 21 through 30, who were on duty as probation officer employees of Defendant
15   HUMBOLDT COUNTY, locked Plaintiff in a cell with a male ward. The male ward sexually assaulted

16   Plaintiff. Defendants were deliberately indifferent to Plaintiff’s medical and psychological needs after
17   the sexual assault, failed immediately to advise Plaintiff’s mother of the sexual assault but instead,
18   suggested to the Plaintiff, a minor, that she should take a “morning after” pill. The identities of all of the

19   employees involved in the incident are not now known and Plaintiff prays for leave to amend this
20   Complaint to substitute said names when the same are ascertained.

21             11.       Plaintiff is informed and believes that defendant HUMBOLDT COUNTY has a policy,
22   custom and practice at the juvenile hall of failing adequately to segregate male and female juvenile

23   detainees; failing adequately to train probation staff; and allowing excessive and punitive force to be

24   applied to juveniles.
25   \\\

26   \\\

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     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
     Jane Doe vs. County of Humboldt, et al.; USDC, ND, Case No.
                   Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 4 of 9



 1                                                            V.    COUNT ONE

 2           Violation of Eighth and Fourteenth Amendments to the U.S. Constitution – 42 U.S.C. § 1983
                       (Against Defendants HUMBOLDT COUNTY and ROES 1 through 10)
 3             12.       Plaintiff incorporates into this cause of action each and every other allegation of this
 4   complaint, to the extent relevant, as if fully set forth herein.
 5             13.       On or about November 12, 2008, said Defendants, HUMBOLDT COUNTY and ROES 1
 6   through 10, acting under color of state law, in the performance of their duties and in furtherance of its
 7   policy, custom and practice of Humboldt County, exposed Plaintiff to excessive punitive force in
 8   violation of the Eighth and Fourteenth Amendments to the U.S. Constitution.
 9             14.       As a direct and proximate result of the violations of Plaintiff’s constitutional rights by said
10   Defendants, Plaintiff suffered physical and emotional harm including pain from being “slammed” against
11   an office window and by being “slammed” down to the ground by said Defendants.
12             15.       Wherefore, Plaintiff prays for relief as hereunder appears.
13
                                                              VI.   COUNT TWO
14
             Violation of Eighth and Fourteenth Amendments to the U.S. Constitution - 42 U.S.C. § 1983
15                     (Against Defendants HUMBOLDT COUNTY and ROES 10 through 20)

16             16.       Plaintiff incorporates into this cause of action each and every other allegation of this

17   complaint, to the extent relevant, as if fully set forth herein.

18             17.       On or about November 14, 2008, said Defendants, HUMBOLDT COUNTY and ROES 10

19   through 20, acting under color of state law, in the performance of their duties and in furtherance of its

20   policy, custom and practice of Humboldt County, exposed Plaintiff to excessive punitive force in

21   violation of the Eighth and Fourteenth Amendments to the U.S. Constitution.

22             18.       As a direct and proximate result of the violations of Plaintiff’s constitutional rights by said

23   Defendants, Plaintiff suffered physical and emotional harm including pain from being “slammed” down

24   to the ground, sprayed with “OC” or pepper spray, and being thrown into a cold shower by said

25   Defendants.

26             19.       Wherefore, Plaintiff prays for relief as hereunder appears.

27   \\\

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                                                                      4
     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
     Jane Doe vs. County of Humboldt, et al.; USDC, ND, Case No.
                   Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 5 of 9



 1                                                          VII.   COUNT THREE

 2           Violation of Eighth and Fourteenth Amendments to the U.S. Constitution - 42 U.S.C. § 1983
                       (Against Defendants HUMBOLDT COUNTY and ROES 20 through 30)
 3             20.       Plaintiff incorporates into this cause of action each and every other allegation of this
 4   complaint, to the extent relevant, as if fully set forth herein.
 5             21.       On or about November 15, 2008, said Defendants, HUMBOLDT COUNTY and ROES 20
 6   through 30, acting under color of state law, in the performance of their duties and in furtherance of its
 7   policy, custom and practice of Humboldt County, with deliberate indifference to the safety of Plaintiff,
 8   placed her in a cell with a male detainee causing Plaintiff to be sexually assaulted. Defendants, with
 9   deliberate indifference, failed to provide Plaintiff with prompt psychological and medical services.
10             22.       As a direct and proximate result of the violations of Plaintiff’s constitutional rights by said
11   Defendants, Plaintiff suffered physical and emotional harm.
12             23.       Wherefore, Plaintiff prays for relief as hereunder appears.
13
                                                             VIII. COUNT FOUR
14
                                      Violation of California Civil Code §§ 52.1 and 52.
15                          (Against Defendants HUMBOLDT COUNTY and ROES 1 through 10)
               24.       Plaintiff incorporates into this cause of action each and every other allegation of this
16
     complaint, to the extent relevant, as if fully set forth herein.
17
               25.       The excessive force to which said Defendants subjected Plaintiff on November 12, 2008,
18
     was in violation of constitutional rights guaranteed by the Eighth and Fourteenth Amendments to the
19
     U.S. Constitution; by California Welfare and Institutions Code § 851 (failure to provide a safe and
20
     supportive homelike environment); by California Code of Regulations, Title 15 §§ 1357 (excessive force
21
     in juvenile halls) and § 1390 (prohibiting corporal punishment); California Constitution article I §§ 1
22
     (right to enjoy life, liberty and safety), § 7 (right to due process), 17 (no cruel or unusual punishment).
23
     The provisions of sections 52 and 52.1 of the California Civil Code provides that Plaintiff is entitled to
24
     recover a minimum of $4,000 in damages for each violation because she was deprived of constitutional
25
     and statutory rights by the coercive acts of Defendants HUMBOLDT COUNTY and ROES 1
26
     THROUGH 10.
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     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
     Jane Doe vs. County of Humboldt, et al.; USDC, ND, Case No.
                   Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 6 of 9



 1             26.       As a direct and proximate result of the coercive violation of her constitutional rights,

 2   Plaintiff suffered physical and emotional harm for which she seeks compensation in an amount to be
 3   proved at trial but in excess of $4,000.

 4             27.       Wherefore, Plaintiff prays for relief as hereunder appears.

 5                                                            IX.   COUNT FIVE
 6                                   Violation of California Civil Code §§ 52.1 and 52.
                           (Against Defendants HUMBOLDT COUNTY and ROES 11 through 20)
 7
               28.       Plaintiff incorporates into this cause of action each and every other allegation of this
 8
     complaint, to the extent relevant, as if fully set forth herein.
 9
               29.       The excessive force to which said Defendants subjected Plaintiff on November 14, 2008,
10
     was in violation of constitutional rights guaranteed by the Eighth and Fourteenth Amendments to the
11
     United States Constitution; by California Welfare and Institutions Code § 851 (failure to provide a safe
12
     and supportive homelike environment); by California Code of Regulations, Title 15 §§ 1357 (excessive
13
     force in juvenile halls) and § 1390 (prohibiting corporal punishment); California Constitution article I §§
14
     1 (right to enjoy life, liberty and safety), § 7 (right to due process), § 17 (no cruel or unusual
15
     punishment). The provisions of sections 52 and 52.1 of the California Civil Code provides that Plaintiff
16
     should be entitled to a minimum of $4,000 in damages for each violation because she was deprived of
17
     constitutional and statutory rights by the coercive acts of Defendants HUMBOLDT COUNTY and ROES
18
     1 THROUGH 10.
19
               30.       As a direct and proximate result of the coercive violation of her constitutional rights,
20
     Plaintiff suffered physical and emotional harm for which she seeks compensation in an amount to be
21
     proved at trial but in excess of $4,000.
22
               31.       Wherefore, Plaintiff prays for relief as hereunder appears.
23
                                                               X.   COUNT SIX
24
                                                   Assault and Battery
25                          (Against Defendants HUMBOLDT COUNTY and ROES 1 through 10)
26             32.       Plaintiff incorporates into this cause of action each and every other allegation of this

27   complaint, to the extent relevant, as if fully set forth herein.

28   \\\
                                                                      6
     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
     Jane Doe vs. County of Humboldt, et al.; USDC, ND, Case No.
                   Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 7 of 9



 1             33.       On November 13, 2008, Plaintiff was touched in a harmful and offensive manner by

 2   Defendants ROES 1 through 10 without consent and suffered physical pain and emotional distress.
 3   Defendants ROES 1 through 10 are liable for assault and battery of Plaintiff.

 4             34.       Defendant HUMBOLDT COUNTY as employer of Defendant ROES 1 through 10 who

 5   committed the acts described in this Complaint, is liable for the assault and battery of Plaintiff.

 6             35.       Wherefore, Plaintiff prays for relief as hereunder appears.
 7                                                          XI.    COUNT SEVEN
 8                                                Assault and Battery
                           (Against Defendants HUMBOLDT COUNTY and ROES 11 through 20)
 9
               36.       Plaintiff incorporates into this cause of action each and every other allegation of this
10
     complaint, to the extent relevant, as if fully set forth herein.
11
               37.       On November 14, 2008, Plaintiff was touched in a harmful and offensive manner by
12
     Defendants ROES 11 through 20 without consent and suffered physical pain and emotional distress.
13
     Defendants ROES 11 through 20 are liable for assault and battery of Plaintiff.
14
               38.       Defendant HUMBOLDT COUNTY as employer of Defendant ROES 11 through 20 who
15
     committed the acts described in this Complaint, is liable for the assault and battery of Plaintiff.
16
               39.       Wherefore, Plaintiff prays for relief as hereunder appears.
17
                                                            XII.   COUNT SEVEN
18
                                         Negligent Infliction of Emotional Distress
19                         (Against Defendants HUMBOLDT COUNTY and ROES 21 through 30)
20             40.       Plaintiff incorporates into this cause of action each and every other allegation of this

21   complaint, to the extent relevant, as if fully set forth herein.

22             41.       On or about November 15, 2008, said Defendants, ROES 21 through 30, acting under

23   color of state law and in the performance of their duties, negligently placed Plaintiff in a cell with a male

24   detainee, causing Plaintiff to be sexually assaulted. Defendants ROES 21 through 30 are liable for

25   negligent infliction of emotional distress.

26             42.       Defendant HUMBOLDT COUNTY as employer of defendant ROES 21 through 30 who

27   committed the acts described in this Complaint, are liable for the negligent infliction of emotional

28   distress of Plaintiff.
                                                                     7
     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
     Jane Doe vs. County of Humboldt, et al.; USDC, ND, Case No.
                    Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 8 of 9



 1             43.       Wherefore, Plaintiff prays for relief as hereunder appears.

 2                                                     XIII. PRAYER FOR RELIEF
 3
               Wherefore Plaintiff seeks Judgment as follows:
 4

 5             1.        For compensatory, general, and special damages;

 6             2.        Exemplary damages in an amount sufficient to deter and to make an example of

 7   Defendants;

 8             3.        Attorney’s fees and costs under 42 U.S.C. § 1988 and California Civil Code §§ 52 and

 9   52.1;

10             4.        The costs of this suit and such other relief as the Court finds just and proper.

11   DATED: August 26, 2009                                        Respectfully Submitted,

12                                                                        LAW OFFICE OF MARK E. MERIN

13

14                                                                              /s/ - “Mark E. Merin”
                                                                          By:_______________________________________
15                                                                              Mark E. Merin
                                                                                Attorneys for Plaintiffs
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     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
     Jane Doe vs. County of Humboldt, et al.; USDC, ND, Case No.
                   Case 4:09-cv-04105-SBA Document 1 Filed 09/03/09 Page 9 of 9



 1   A JURY TRIAL IS DEMANDED.
 2   DATED: August 26, 2009                                        Respectfully Submitted,
 3                                                                        LAW OFFICE OF MARK E. MERIN
 4

 5
                                                                                 /s/ - “Mark E. Merin”
 6                                                                        By:
                                                                                 Mark E. Merin
 7                                                                               Attorneys for Plaintiffs

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     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
     Jane Doe vs. County of Humboldt, et al.; USDC, ND, Case No.
